 

Case 1:91-cr-00023-WWC Document 1 Filed 03/04/09 Page 1 of 1
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UN!TED STA TES D[STRICT COURT
for the
MIDDLE D!STRICT OF PENNSYLVANM

U.S. Courr.~’:ouse
228 Wa£nu.t SSreer, Rm. 1050

 

EO_ Box 933
H\:rrtsbury. .PA 1?!08-0.953 (717} 221 3920
MAR}’E. DHNDREA nix ram 221-sosa
Cl€’k Q»"C°“’¢ Mareh 4, 2009

Theodore B. Smith, AUSA
United States Att.orney’s Ot`tice
Room 21?'_1 Federal Building
228 Walnut Street

Ha:rrisburg, PA 17108

ln Re: CR-9l-23
USA vs. Gcorge 'l`. Zahorian, III

Dear Counsel:

Pursuant to lioca| Rulc ot` Court 79.4 you are advised that you have thirty (3) days to
retrieve your exhibits in connection with the above-captioned case from the courthouse The
judgment in your ease is linal, including appeal, and you are asked that you remove your exhibits
or authorize their disposition by the elerk.

L.R. 79,4 reads as follows:
Local Rule 79.4 Removal or Disposition of Exhibits

Except t`or those documentary exhibits required to remain permanently with ease
reeords._ attorneys are responsible, alier final judgment including appeal, for removing or
authorizing the clerk to dispose of document exhibits which do not tit in the regular ease
lile_ Docurnents of unusual bulk or weight and physical exhibits other than documents
are to be removed immediately after trial, and if necessary in an appeal, attorneys must
make arrangements for transport to and receipt of such exhibits at the court o[`appeals. If`
not removed or disposition authorizcd, upon thirty (_30) days notice t`rom the clerk, such
exhibits will be destroyed or otherwise disposed ot` by the court.

Please call us if you have any questions

Sincerely yours,

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Deputy

 

